                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                             Civil Action No.: 5:22-CV-12

ALEJANDRO           J.     SULETA         and   )
ADRIANNE CARROLL, individually, and             )
on behalf of all others similarly situated,     )
                                                )
                       Plaintiffs,              )
                                                )
                                                               CLASS ACTION
       v.                                       )
                                                                COMPLAINT
                                                )
CITIBANK, N.A. AND                              )
JOHN DOES 1-10,                                 )
                                                )
                       Defendants.              )
                                                )

       NOW COMES, ALEJANDRO J. SULETA (individually “Alejandro”) and ADRIANNE

CARROLL (individual, “Adrianne”) (collectively “Plaintiffs”), individually, and on behalf of all

others similarly situated, through their undersigned counsel, complaining of CITIBANK, N.A.as

follows:

                                     NATURE OF THE ACTION

       1.      Plaintiffs bring this action seeking damages as well as injunctive relief for

Defendant’s violations of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et

seq.

       2.      “The primary purpose of the TCPA was to protect individuals from the harassment,

invasion of privacy, inconvenience, nuisance, and other harms associated with unsolicited,

automated calls.” Parchman v. SLM Corp., 896 F.3d 728, 738-39 (6th Cir. 2018) citing Telephone

Consumer Protection Act of 1991, Pub. L. No. 102-243, § 2, 105 Stat. 2394 (1991).




                                                1



       Case 5:22-cv-00012-KDB-DSC Document 1 Filed 02/03/22 Page 1 of 11
       3.      “As the Supreme Court recently observed, “Americans passionately disagree about

many things. But they are largely united in their disdain for robocalls.” Barr v. Am. Ass’n of

Political Consultants, 140 S. Ct. 2335, 2343 (2020).

                                 JURISDICTION AND VENUE

       4.      This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331.

       5.      Venue in this district is proper under 28 U.S.C. § 1391(b)(2) as a substantial part

of the events and omissions giving rise to Plaintiffs’ claims occurred in this judicial district.

                                             PARTIES

       6.      Alejandro is a natural person, over 18-years-of-age, who at all times relevant

resided in Lenoir, North Carolina.

       7.      Adrianne is a natural person, over 18-years-of-age, who at all times relevant resided

in Newton, North Carolina.

       8.      Plaintiffs are each a “person” as defined by 47 U.S.C. § 153(39).

       9.      CITIBANK, N.A. (“Defendant”) is a prominent banking institution that provides

banking and financial services to consumers nationwide.

       10.     Defendant maintains its principal place of business in New York, New York.

       11.     Defendant is a “person” as defined by 47 U.S.C. § 153(39).

       12.     Defendant conducts business in the State of North Carolina and is registered with

the North Carolina Secretary of State.

       13.     JOHN DOES 1-10 are third party vendors/agents that Defendant engages to collect

alleged debts owed by Defendant’s customers. The identities of JOHN DOES 1-10 are unknown

to Plaintiffs at this time and will be ascertained through discovery.



                                                  2



      Case 5:22-cv-00012-KDB-DSC Document 1 Filed 02/03/22 Page 2 of 11
                                  FACTUAL ALLEGATIONS

       14.     At all times relevant, Alejandro was the sole operator, possessor, and subscriber of

the cellular telephone number ending in 4921.

       15.     At all times relevant, Alejandro’s number ending in 4921 was assigned to a cellular

telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

       16.     At all times relevant, Adrianne was the sole operator, possessor, and subscriber of

the cellular telephone number ending in 5627.

       17.     At all times relevant, Adrianne’s number ending in 5627 was assigned to a cellular

telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

       18.     At all times relevant, Plaintiffs were financially responsible for their cellular phone

services.

       19.     Adrianne is Alejandro’s fiancé.

       20.     Alejandro and his father, Alejandro Suleta, share the same name.

       21.     Upon information and belief, Alejandro’s father has a Best Buy credit card account

issued by Defendant.

       22.     Alejandro and Adrianne are not co-obligors on Alejandro’s father’s account nor are

they authorized users.

                           Phone Calls to Adrianne’s Cellular Phone

       23.     Adrianne does not have an account or any other form of business relationship with

Defendant.

       24.     Adrianne has never provided her cellular phone number to Defendant.

       25.     Starting in January 2021, Adrianne began receiving telephone calls from

Defendant, including calls from the phone number (877) 488-3647.

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      Case 5:22-cv-00012-KDB-DSC Document 1 Filed 02/03/22 Page 3 of 11
       26.    When the calls began, Adrianne did not answer as she did not recognize the number

Defendant was calling from.

       27.    In the calls that Adrianne did not answer, Defendant would leave a prerecorded

voice message (“robocall”) stating:

         “Thank you for being a part of the Citibank family. We know you are busy but
        if you could take a few minutes to log in at www.bestbuy.accountonline.com to
        review your Best Buy account status it would be appreciated. If you would
        prefer to call us please feel free to as it is always great to get a chance to speak
        with our valued client. Our toll free number is (888) 720-5859. Once again,
        thanks for being a valued Citibank customer.”

       28.    In January 2021, frustrated with the robocalls, Adrianne answered a call from

Defendant and spoke to a live representative.

       29.    During this call, Adrianne (1) advised Defendant that she does not have an account

with Defendant, (2) notified Defendant that it was calling the wrong number, and (3) requested

that Defendant cease its misguided robocalls.

       30.    Despite Adrianne’s request that the calls cease, Defendant continued to pound

Adrianne with daily robocalls.

       31.    On average, Defendant placed at least two robocalls to Adrianne’s cellular phone

per day, including calls on the weekend.

       32.    In total, Defendant has placed no less than six-hundred (600) robocalls to

Adrianne’s cellular phone without her consent from January 2021 through the present.

                          Phone Calls to Alejandro’s Cellular Phone

       33.    Alejandro does not have an account or any other form of business relationship with

Defendant.

       34.    Alejandro has never provided his cellular phone number to Defendant.


                                                 4



      Case 5:22-cv-00012-KDB-DSC Document 1 Filed 02/03/22 Page 4 of 11
       35.     Starting in February 2021, Alejandro began receiving telephone calls from

Defendant, including calls from the phone number (877) 488-3647.

       36.     When the calls began, Alejandro did not answer as he did not recognize the number

Defendant was calling from.

       37.     In the calls that Alejandro did not answer, Defendant would leave a prerecorded

voice message stating:

         “Thank you for being a part of the Citibank family. We know you are busy but
         if you could take a few minutes to log in at www.bestbuy.accountonline.com to
         review your Best Buy account status it would be appreciated. If you would
         prefer to call us please feel free to as it is always great to get a chance to speak
         with our valued client. Our toll free number is (888) 720-5859. Once again,
         thanks for being a valued Citibank customer.”

       38.     In February 2021, frustrated with the robocalls and battling a COVID-19 infection,

Alejandro answered a call from Defendant and spoke to a live representative.

       39.     During this call, Alejandro (1) advised Defendant that he is not his father; (2)

advised Defendant that it is calling the wrong number; (3) provided Defendant with his father’s

phone number; and (4) requested that Defendant cease its misguided robocalls.

       40.     Despite Alejandro’s request that the calls cease, Defendant continued to pound

Alejandro with daily robocalls.

       41.     In August 2021, Alejandro again answered one of Defendant’s calls.

       42.     During this call, Alejandro (1) again advised Defendant that he is not his father; (2)

again advised Defendant that it is calling the wrong number; (3) again provided Defendant with

his father’s phone number; and (4) again requested that Defendant cease its misguided robocalls.

       43.     Alejandro’s pleas fell on deaf ears again and Defendant continued placing incessant

robocalls to Alejandro’s cellular phone.


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      Case 5:22-cv-00012-KDB-DSC Document 1 Filed 02/03/22 Page 5 of 11
       44.       On average, Defendant placed at least two robocalls to Alejandro’s cellular phone

per day, including calls on the weekend.

       45.       In total, Defendant has placed no less than seven-hundred (700) robocalls to

Alejandro’s cellular phone without his consent from February 2021 through the present.

       46.       All the calls placed by Defendant to Plaintiffs were made in an attempt to collect a

debt allegedly owed by Alejandro’s father.

       47.       Upon information and belief, Defendant’s phone calls were part of Defendant’s

nefarious scheme to collect delinquent accounts. Specifically, Defendant’s scheme consists of the

strategic placement of phone calls to delinquent consumers’ relatives and acquaintances in an

effort to pressure the delinquent consumers to make payment on their accounts to avoid the

embarrassment and humiliation of being perceived as “deadbeats” by their relatives and

acquaintances.

                                             DAMAGES

       48.       Plaintiffs value their time, privacy, and solitude.

       49.       Defendant’s misguided robocalls have invaded Plaintiffs’ privacy and have caused

Plaintiffs actual harm, including, aggravation that accompanies unwanted robocalls, increased risk

of personal injury resulting from the distraction caused by the robocalls, wear and tear to Plaintiffs’

cellular phones, intrusion upon and occupation of Plaintiffs’ cellular phones, temporary loss of use

of Plaintiffs’ cellular phones, loss of battery charge, loss of concentration, mental anguish,

nuisance, the per-kilowatt electricity costs required to recharge Plaintiffs’ cellular phones as a

result of increased usage of Plaintiffs’ telephone services, and wasting Plaintiffs’ time.




                                                    6



      Case 5:22-cv-00012-KDB-DSC Document 1 Filed 02/03/22 Page 6 of 11
       50.     Moreover, each time Defendant placed a robocall to Plaintiffs’ cellular phones,

Defendant occupied Plaintiffs’ cellular phones such that Plaintiffs were unable to receive other

phone calls or otherwise utilize their cellular phones while their phones were ringing.

       51.     Plaintiffs both use their cellular phones for work purposes and Defendant’s

incessant robocalls have adversely affected Plaintiffs’ work productivity. For example, Plaintiffs

would routinely miss work calls believing that the calls were from Defendant.

       52.     Due to Defendant’s refusal to honor Plaintiffs’ requests that the robocalls cease,

Plaintiffs were forced to retain counsel to compel Defendant to cease its invasive calls.

                                     CLASS ALLEGATIONS

       53.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

       54.     Plaintiffs bring this action pursuant to Fed. R. Civ. P. 23(b)(2) and 23(b)(3)

individually, and on behalf of all others similarly situated (“Putative Class”) defined as follows:

       All individuals residing in the United States: (a) to whom Defendant or a third party
       acting on Defendant’s behalf, placed a phone call to his/her cellular phone number;
       (b) utilizing an artificial or prerecorded voice; (c) in connection with a debt
       allegedly owed by a third party; (d) at any time in the period that begins four years
       before the date of the filing of the original complaint through the date of class
       certification.


       55.     The following individuals are excluded from the Putative Class: (1) any Judge or

Magistrate Judge presiding over this action and members of their families; (2) Defendant,

Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which Defendant or

its parents have a controlling interest and their current or former employees, officers, and directors;

(3) Plaintiffs’ attorneys; (4) individuals who properly execute and file a timely request for

exclusion from the Putative Class; (5) the legal representatives, successors, or assigns of any such

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      Case 5:22-cv-00012-KDB-DSC Document 1 Filed 02/03/22 Page 7 of 11
excluded individuals; and (6) individuals whose claims against Defendant have been fully and

finally adjudicated and/or released.

A.      Numerosity

        56.     The exact number of members of the Putative Class are unknown and not available

to Plaintiffs at this time, but it is clear that individual joinder is impracticable.

        57.     Upon information and belief, Defendant placed unlawful robocalls to thousands of

consumers who fall into the definition of the Putative Class.

        58.     Members of the Putative Class can be objectively identified from the records of

Defendant and any affiliated vendors/agents to be gained through targeted discovery.

B.      Commonality and Predominance

        59.     There are many questions of law and fact common to the claims of Plaintiffs and

the Putative Class, and those questions predominate over any questions that may affect individual

members of the Putative Class.

C.      Typicality

        60.     Plaintiffs’ claims are typical of members of the Putative Class because Plaintiffs

and members of the Putative Class are entitled to damages as a result of Defendant’s conduct.

D.      Superiority and Manageability

        61.     This case is also appropriate for class certification as class proceedings are superior

to all other available methods for the efficient and fair adjudication of this controversy.

        62.     The damages suffered by the individual members of the Putative Class will likely

be relatively small, especially given the burden and expense required for individual prosecution.

        63.     By contrast, a class action provides the benefits of single adjudication, economies

of scale, and comprehensive supervision by a single court.

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       Case 5:22-cv-00012-KDB-DSC Document 1 Filed 02/03/22 Page 8 of 11
        64.       Economies of effort, expense, and time will be fostered and uniformity of decisions

ensured.

E.      Adequate Representation

        65.       Plaintiffs will adequately and fairly represent and protect the interests of the

Putative Class.

        66.       Plaintiffs have no interests antagonistic to those of the Putative Class and Defendant

has no defenses unique to Plaintiffs.

        67.       Plaintiffs have retained competent and experienced counsel in consumer class

action litigation.

                                          COUNT I
       Violations of the Telephone Consumer Protection Act (47 U.S.C. § 227 et. seq.)
                (On behalf of Plaintiffs and members of the Putative Class)

        68.       All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

        69.       Defendant violated § 227 (b)(1)(A)(iii) of the TCPA by placing no less than six-

hundred (600) non-emergency calls to Adrianne’s cellular phone utilizing an artificial or

prerecorded voice without Adrianne’s consent.

        70.       Defendant violated § 227 (b)(1)(A)(iii) of the TCPA by placing no less than seven-

hundred (700) non-emergency calls to Alejandro’s cellular phone utilizing an artificial or

prerecorded voice without Alejandro’s consent.

        71.       As pled above, Defendant utilized a prerecorded voice that automatically played

upon the call reaching Plaintiffs’ voicemail.

        72.       As pled above, Plaintiffs do not have existing accounts with Defendant and

therefore Defendant did not have consent to place robocalls to Plaintiffs’ cellular phones.

                                                    9



       Case 5:22-cv-00012-KDB-DSC Document 1 Filed 02/03/22 Page 9 of 11
       73.      As pled above, Plaintiffs were harmed by Defendant’s unlawful robocalls.

       74.      As pled above, Defendant’s phone calls were deliberately placed to non-debtors in

an attempt to compel payment on delinquent accounts owed by an acquaintance or relative of the

non-debtors.

       75.      Accordingly, it is clear that Defendant had actual knowledge it did not have consent

to place robocalls to Plaintiffs, but did so in utter disregard of the TCPA.

       76.      Upon information and belief, Defendant does not maintain adequate policies and

procedures to ensure compliance with the TCPA.

       77.      Upon information and belief, Defendant knew its unlawful practice of calling non-

debtors was in violation of the TCPA, yet deliberately employed such practice to maximize

revenue and profits.

       WHEREFORE, Plaintiffs, on behalf of themselves and the members of the Putative Class,

request the following relief:

             A. an order granting certification of the proposed class, including the designation of

                Plaintiffs as the named representatives, and the appointment of the undersigned as

                Class Counsel;

             B. a judgment in Plaintiffs’ favor finding that Defendant violated 47 U.S.C. § 227

                (b)(1)(A)(iii);

             C. an order enjoining Defendant from placing further unlawful calls to Plaintiffs and

                the members of the Putative Class;

             D. an award of $500.00 in damages to Plaintiffs and the members of the Putative Class

                for each such violation;



                                                 10



      Case 5:22-cv-00012-KDB-DSC Document 1 Filed 02/03/22 Page 10 of 11
           E. an award of treble damages up to $1,500.00 to Plaintiffs and the members of the

               Putative Class for each such violation; and

           F. an award of such other relief as this Court deems just and proper.

                                DEMAND FOR JURY TRIAL

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury.


Respectfully submitted, this the 3rd day of February, 2022.




                                         BY: /s/ Matthew R. Gambale
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                                                11



     Case 5:22-cv-00012-KDB-DSC Document 1 Filed 02/03/22 Page 11 of 11
